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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                        *          CRIMINAL NO: 20-55

               v.                               *          SECTION: “F” (4)

JASON R. WILLIAMS                                *
NICOLE E. BURDETT
                                          *      *     *

   DEFENDANT JASON R. WILLIAMS’ RESPONSE TO DEFENDANT NICOLE E.
       BURDETT’S MOTION FOR JOINT TRIAL OF SEPARATE CASES

       NOW INTO COURT, through undersigned counsel, comes defendant Jason R. Williams,

who states that he does not oppose defendant Nicole E. Burdett’s motion for joint trial of separate

cases (Rec. Doc. 113).

                                              Respectfully submitted,

                                              /s/ William P. Gibbens
                                              William P. Gibbens, 27225
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